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Case: 4:17-cv-01440-HEA Doc. #: 118-2 Filed: 01/13/20 Page: 2 of 8 PageID #: 1719
Case: 4:17-cv-01440-HEA Doc. #: 118-2 Filed: 01/13/20 Page: 3 of 8 PageID #: 1720
Case: 4:17-cv-01440-HEA Doc. #: 118-2 Filed: 01/13/20 Page: 4 of 8 PageID #: 1721
Case: 4:17-cv-01440-HEA Doc. #: 118-2 Filed: 01/13/20 Page: 5 of 8 PageID #: 1722
Case: 4:17-cv-01440-HEA Doc. #: 118-2 Filed: 01/13/20 Page: 6 of 8 PageID #: 1723
Case: 4:17-cv-01440-HEA Doc. #: 118-2 Filed: 01/13/20 Page: 7 of 8 PageID #: 1724
Case: 4:17-cv-01440-HEA Doc. #: 118-2 Filed: 01/13/20 Page: 8 of 8 PageID #: 1725
